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       EXHIBIT G
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By Email to bradford.geyer@formerfedsgroup.com

Bradford L. Geyer
FormerFedsGroup.Com LLC,
141 I Route 130 South
Suite 303
Cinnaminson, NJ 08077

                                                                                         12 December 2023

Dear Sir

Himalaya International Clearing Limited ("Himalaya Exchange")

We are writing to confirm that we are instructed by Himalaya Exchange to commission and oversee on
behalf of Himalaya Exchange the carrying out of an independent audit by a firm of independent forensic
accountants in respect of the Himalaya Exchange customers who we understand have filed a 41(g)
motion in the US District Court for the Southern District of New York.

We understand the customer action relates to the US Department of Justice’s (the “DOJ”) seizure of
monies which were held by the Himalaya Exchange.

For the avoidance of doubt, if and to the extent that this letter is disclosed to any third party, nothing in
this letter is intended to nor does it waive any applicable privilege. Further, if and to the extent that this
letter is disclosed to any third party, and to the extent that it is later determined that this letter does
contain a waiver of privilege in relation to the information above, we do not intend to nor do we make
any wider waiver of any applicable privilege in relation to our instructions or our work product.

Yours faithfully



CANDEY
